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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS                               DEC 1 2 2023
                                   SHERMAN DIVISION

  UNITED STATES OF AMERICA                        §
                                                  §
                                                  §
                                                  § CASE NUMBER 4:23-CR-00268
  v.                                              §
                                                  §
                                                  §
  ROBBERTA MARIE KHAN (4)                         §
                                               ORDER

        On October 21, 2020, the President signed into law the Due Process Protections Act,

 Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), which amends Federal Rule of Criminal

 Procedure 5 (Initial Appearance). Counsel should immediately read the amendment to

 Rule 5(f)(1) of the Federal Rules of Criminal Procedure, which became effective upon

 enactment, and is entitled Reminder of Prosecutorial Obli ation .

        By this written Order - issued to the prosecution and defense counsel - the Court confirms

 the disclosure obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963), and its

 progeny, and the possible consequences of violating such Order under applicable law.

        This written Order is entered pursuant to Rule 5(f)(1) of the Federal Rules of Criminal

 Procedure and is in addition to any oral order entered by the Court on the first scheduled court date

 when both the prosecutor and defense counsel were present.

        So ORDERED and SIGNED this December 12, 2023
